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              IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF TEXAS
                           FORT WORTH DIVISION

UNITED STATES OF AMERICA                   §
                                           §
VS.                                        §     CRIMINAL NO.    4:11-CR-096-Y
                                           §
MIGUEL ANGEL GONZALEZ (42)                 §
JOSE DOTOR SANCHEZ (47)                    §


                                ORDER ACCEPTING
                       REPORT AND RECOMMENDATION OF THE
                        UNITED STATES MAGISTRATE JUDGE
                        AND ADJUDGING DEFENDANT GUILTY

       After reviewing all relevant matters of record, including the

respective Consents to Administration of Guilty Plea and Federal

Rule    of   Criminal     Procedure     11     Allocution   by   United    States

Magistrate Judge and the Report and Recommendation on Plea Before

the United States Magistrate Judge, and no objections thereto

having been filed by either defendant within fourteen (14) days of

service in accordance with 28 U.S.C. § 636(b)(1), the undersigned

district judge concludes that each report and recommendation of the

magistrate judge on each plea of guilty is correct, and each is

hereby accepted by the Court.           Accordingly, the Court accepts each

plea of guilty, and each defendant is hereby adjudged guilty. Each

defendant’s    sentence     will   be    imposed     in   accordance    with   the

sentencing scheduling order previously issued as to each defendant.

       SIGNED January 5, 2012.

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                                               TERRY R. MEANS
                                               UNITED STATES DISTRICT JUDGE
